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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                         MINUTES OF PROCEEDINGS


NEWARK                                       DATE: July 24, 2017

JUDGE: Susan D. Wigenton

COURT REPORTER: Carmen Liloia

DEPUTY CLERK: Carmen D. Soto

Title of Case:                               Docket# 15-CR-569

UNITED STATES v. MARK ANDREOTTI

Appearances:
Shana W. Chen, AUSA for the Gov’t
Charlie Leslie Divine, AUSA for the Gov’t
John P. McGovern, Esq. for Deft (CJA)

Nature of Proceeding:      STATUS CONFERENCE

Deft present;
Status conference held;
Jury trial adjourned to 9/11/17;
In limine hearing/trial conference set for 9/7/17.
Second FRYE hearing to be held 8/8/17 at 11:00 a.m.


Time Commenced 12:05 p.m.
Time Adjourned 12:55 p.m.
Total time:   50 mins.

cc: chambers                                 Carmen D. Soto
                                             Deputy Clerk
